The case was submitted without oral or written argument on the part of appellant. Since our attention has not been called to any alleged error, we would be justified in sustaining the action of the court below without any examination of the record. We have, however, carefully read the transcript and we find therein nothing to demand a reversal of the judgment. The evidence against the defendant was circumstantial in its nature, but we are not prepared to say that it was insufficient to warrant the verdict of guilty of arson in the second degree.
The instructions were fair and complete and, in the trial of the case, all the rights of the defendant seem to have been scrupulously regarded and protected by the learned trial judge.
No error appearing, the judgment and order denying the motion for a new trial are affirmed.
Chipman, P. J., and Hart, J., concurred. *Page 299 